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                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS
____________________________________
CHARU DESAI,                         )
            Plaintiff,               )
                                     )
v.                                   )   Civil Action No. 4:19-cv-10520-TSH
                                     )
UNIVERSITY OF MASSACHUSETTS, )
MEMORIAL MEDICAL CENTER, INC. )
UNIVERSITY OF MASSACHUSETTS          )
MEMORIAL MEDICAL GROUP,              )
UNIVERSITY OF MASSACHUSETTS          )
MEDICAL SCHOOL, UMASS                )
MEMORIAL HOSPITAL, MAX ROSEN, )
M.D., DARREN BRENNAN, M.D.,          )
STEPHEN TOSI, M.D., KARIN DILL,     )
M.D.,                                )
            Defendants.              )
____________________________________)

VOLUNTARY WITHDRAWAL WITHOUT PREJUDICE AS TO CLAIMS FOR DEFAMATION
 AND VIOLATIONS OF THE EQUAL PAY ACT ASSERTED BY PLAINTIFF, CHARU DESAI



        Pursuant to Fed. R. Civ. P. 41(a)(1), Plaintiff, Charu Desai, by and through counsel, hereby

voluntarily withdraws without prejudice her claims for Violation of the Federal Equal Pay Act, 29 U.S.C.

§§ 206(d), 216 (Count II), Violation of Massachusetts’ Equal Pay Act, M.G.L. c. 149 § 105A (Count IV),

and her claim for Defamation (Count VIII) in the above captioned Civil Action before the United States

District Court for the District of Massachusetts. By withdrawing the above captioned claims without

prejudice, Plaintiff, by and through counsel, reserves her right to move this Honorable Court to amend her

Complaint to reinstate any or all of the above referenced claims if the trial record reflects sufficient facts

to support such claims.




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                                  Respectfully submitted by counsel,


                                  /s/ Timothy D. Rodden Jr.
                                  Timothy D. Rodden Jr. (BBO#: 691228)
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                                      Certificate of Service
         I, Timothy D. Rodden Jr., counsel for the Plaintiff, hereby certify that I have this day,
May 11, 2022, served the foregoing document upon all parties, by electronically filing to all ECF
registered parties, and by sending a copy, first class mail, postage prepaid to all unregistered
parties.

                                                            /s/ Timothy D. Rodden Jr.
                                                            Timothy D. Rodden Jr.




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